Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 1 of 15 PageID 1
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 2 of 15 PageID 2
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 3 of 15 PageID 3
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 4 of 15 PageID 4
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 5 of 15 PageID 5
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 6 of 15 PageID 6
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 7 of 15 PageID 7
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 8 of 15 PageID 8
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 9 of 15 PageID 9
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 10 of 15 PageID 10
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 11 of 15 PageID 11
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 12 of 15 PageID 12
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 13 of 15 PageID 13
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 14 of 15 PageID 14
Case 3:22-cv-00484-MMH-MCR Document 1 Filed 04/29/22 Page 15 of 15 PageID 15
